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 In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS
                                     No. 11-422V
                              (E-Filed: August 18, 2014)

* * * * * * * * * * * * * * *
JILL SARINA,                 *                     UNPUBLISHED
                             *
                             *
             Petitioner,     *                     Special Master
                             *                     Hamilton-Fieldman
          v.                 *
                             *                     Measles, Mumps, Rubella (“MMR”)
SECRETARY OF HEALTH AND      *                     Vaccine; Transverse Myelitis (“TM”)
 HUMAN SERVICES,             *                     Decision; Stipulation.
                             *
             Respondent.     *                     .
* * * * * * * * * * * * * * *

Chester Daniel Hayes, Hayes Law Office, Pataskala, OH, for Petitioner.
Jennifer R. Reynaud, U.S. Department of Justice, Washington, DC, for Respondent.


                        DECISION AWARDING DAMAGES1

       On June 27, 2011, Petitioner, Jill Sarina, filed a petition seeking compensation
under the National Vaccine Injury Compensation Program (“the Vaccine Program”).
Petitioner alleged that the administration of a measles, mumps, and rubella vaccination
(“MMR”), administered on July 29, 2008, caused Petitioner to suffer transverse myelitis


       1
           Because this unpublished decision contains a reasoned explanation for the
undersigned’s action in this case, the undersigned intends to post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at
44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1)
that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Otherwise, “the entire”
decision will be available to the public. Id.


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(“TM”).2

       Respondent denies that Petitioner’s MMR vaccination caused Petitioner’s TM
and/or any other injury. Nonetheless, both parties, while maintaining their above stated
positions, agreed in a Stipulation, filed August 18, 2014, (“Stipulation”) that the issues
before them can be settled and that a decision should be entered awarding Petitioner
compensation.

      The undersigned finds said stipulation reasonable and adopts it as the decision of
the Court in awarding damages, on the terms set forth therein.

       The stipulation awards:

       A lump sum of $418,793.68, which amount represents compensation for first year
       life care expenses ($168,793.68), and combined lost earnings, pain and suffering,
       and past expenses ($250,000.00), in the form of a check payable to Petitioner;

Stipulation ¶ 8(a)

       A lump sum of $1,760.30, which amount represents reimbursement of a State of
       Ohio Medicaid lien, in the form of a check payable jointly to Petitioner and

                                    Treasurer, State of Ohio
                                  350 Worthington Rd, Suite G
                                    Westerville, Ohio 43082
                                  Attn: Ms. Jeanny Blackledge
                                     Case Number: 985355

       Petitioner agrees to endorse this payment to the State;

Stipulation ¶ 8(b)

       An amount sufficient to purchase the annuity contract described in paragraph 10 of
       the Stipulation, paid to the life insurance company from which the annuity will be
       purchased (the “Life Insurance Company”). This represents all damages available
       under 42 U.S.C. §300aa-15(a) to which Petitioner would be entitled

       2
         The National Vaccine Injury Compensation Program is set forth in Part 2 of the
National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755,
codified as amended, 42 U.S.C.A. ' 300aa-10-' 300aa-34 (West 1991 & Supp. 2002)
(Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. ' 300aa.


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Stipulation ¶ 8(c)

       The undersigned approves the requested amounts for Petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.3



       IT IS SO ORDERED.
                                                 s/Lisa D. Hamilton-Fieldman
                                                 Lisa D. Hamilton-Fieldman
                                                 Special Master




       3
           Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties=
joint filing of notice renouncing the right to seek review.


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